Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 1 of 25




                  Exhibit F
 Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 2 of 25




D'ANDRE PENNAMON-MUHAMMAD                                                  February 17, 2023
RIVERVIEW FLORIDA 33578                                                    Re: Alicia Alston
                                                                           Emory University & Healthcare
                                                                           Claim:           Contract:
                                                                           G09979           647272




Dear D'Andre Pennamon-Muhammad:


We are writing about a claim for group life insurance benefits with Standard Insurance Company. Please
accept our sincere condolences. Our review of this claim is complete. The following benefits are payable:

Summary of Benefits

                     BENEFIT TYPE                             AMOUNT PAYABLE
                     Basic Life                               $2,150
                     Additional Life                          $11,200
                     Voluntary AD&D                           $13,300

You will receive a benefit check under a separate cover.



Note: The amount payable represents 5% of the Basic Life and 7% of the Additional Life and Voluntary
AD&D benefits.

Life Services Toolkit Program

You are eligible for comprehensive support services from the Life Services Toolkit Program. This
includes grief support, funeral planning help and financial counseling for the next 12 months. When
you're ready, call the phone assistance line at 800.378.5742 or visit the Life Services Toolkit website at
www.standard.com/mytoolkit.

Family Benefits Package

The group policy may also provide a family benefits package that provides financial assistance to a
surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
attending a higher educational institution or attending professional trade courses.

Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the


Standard Insurance Company
PO Box 2800
Portland, OR 97204
Tel 800.368.1135
    Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 3 of 25




ALICIA ALSTON G09979                               Page 2                                            February 17, 2023



   benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
   may apply to the amount or duration of the benefit or your eligibility for the benefit.

   This package of family-oriented benefits includes:

       ·   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000 per year, or
           the cumulative total of $20,000 or 25% of the employee's AD&D insurance benefit, whichever is
           less.

   COVID-19 Funeral Assistance

   We would like to inform you that the Federal Emergency Management Agency (FEMA) may provide
   financial assistance for COVID-19 related funeral expenses incurred after January 20, 2020. You may
   call the COVID-19 Funeral Assistance Line at 1-844-684-6333 to initiate an application or obtain
   additional details. You may also visit the FAQ online at FEMA.gov/funeral-assistance/FAQ. The website
   contains additional information including eligibility requirements, submitting documentation online,
   methods of payment and more.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
 Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 4 of 25




JASMINE BROWN                                                              February 17, 2023
MCDONOUGH GEORGIA 30253                                                    Re: Alicia Alston
                                                                           Emory University & Healthcare
                                                                           Claim:           Contract:
                                                                           G09979           647272




Dear Jasmine Brown:


We are writing about a claim for group life insurance benefits with Standard Insurance Company. Please
accept our sincere condolences. Our review of this claim is complete. The following benefits are payable:

Summary of Benefits

                     BENEFIT TYPE                             AMOUNT PAYABLE
                     Basic Life                               $2,150
                     Additional Life                          $11,200
                     Voluntary AD&D                           $13,300

You will receive a benefit check under a separate cover.



Note: The amount payable represents 5% of the Basic Life and 7% of the Additional Life and Voluntary
AD&D benefits.

Life Services Toolkit Program

You are eligible for comprehensive support services from the Life Services Toolkit Program. This
includes grief support, funeral planning help and financial counseling for the next 12 months. When
you're ready, call the phone assistance line at 800.378.5742 or visit the Life Services Toolkit website at
www.standard.com/mytoolkit.

Family Benefits Package

The group policy may also provide a family benefits package that provides financial assistance to a
surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
attending a higher educational institution or attending professional trade courses.

Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations

Standard Insurance Company
PO Box 2800
Portland, OR 97204
Tel 800.368.1135
    Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 5 of 25




ALICIA ALSTON G09979                                Page 2                                         February 17, 2023



   may apply to the amount or duration of the benefit or your eligibility for the benefit.

   This package of family-oriented benefits includes:

       ·   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000 per year, or
           the cumulative total of $20,000 or 25% of the employee's AD&D insurance benefit, whichever is
           less.

   COVID-19 Funeral Assistance

   We would like to inform you that the Federal Emergency Management Agency (FEMA) may provide
   financial assistance for COVID-19 related funeral expenses incurred after January 20, 2020. You may
   call the COVID-19 Funeral Assistance Line at 1-844-684-6333 to initiate an application or obtain
   additional details. You may also visit the FAQ online at FEMA.gov/funeral-assistance/FAQ. The website
   contains additional information including eligibility requirements, submitting documentation online,
   methods of payment and more.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
 Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 6 of 25




DARIUS BARNWELL                                                            February 17, 2023
TAMPA FLORIDA 33612                                                        Re: Alicia Alston
                                                                           Emory University & Healthcare
                                                                           Claim:           Contract:
                                                                           G09979           647272




Dear Darius Barnwell:


We are writing about a claim for group life insurance benefits with Standard Insurance Company. Please
accept our sincere condolences. Our review of this claim is complete. The following benefits are payable:

Summary of Benefits

                     BENEFIT TYPE                             AMOUNT PAYABLE
                     Basic Life                               $2,150
                     Additional Life                          $11,200
                     Voluntary AD&D                           $13,300

You will receive a benefit check under a separate cover.


Note: The amount payable represents 5% of the Basic Life and 7% of the Additional Life and Voluntary
AD&D benefits.

Life Services Toolkit Program

You are eligible for comprehensive support services from the Life Services Toolkit Program. This
includes grief support, funeral planning help and financial counseling for the next 12 months. When
you're ready, call the phone assistance line at 800.378.5742 or visit the Life Services Toolkit website at
www.standard.com/mytoolkit.

Family Benefits Package

The group policy may also provide a family benefits package that provides financial assistance to a
surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
attending a higher educational institution or attending professional trade courses.

Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations


Standard Insurance Company
PO Box 2800
Portland, OR 97204
Tel 800.368.1135
                Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 7 of 25




ALICIA ALSTON G09979                                Page 2                                         February 17, 2023



   may apply to the amount or duration of the benefit or your eligibility for the benefit.

   This package of family-oriented benefits includes:

       ·   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000 per year, or
           the cumulative total of $20,000 or 25% of the employee's AD&D insurance benefit, whichever is
           less.

   COVID-19 Funeral Assistance

   We would like to inform you that the Federal Emergency Management Agency (FEMA) may provide
   financial assistance for COVID-19 related funeral expenses incurred after January 20, 2020. You may
   call the COVID-19 Funeral Assistance Line at 1-844-684-6333 to initiate an application or obtain
   additional details. You may also visit the FAQ online at FEMA.gov/funeral-assistance/FAQ. The website
   contains additional information including eligibility requirements, submitting documentation online,
   methods of payment and more.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,
 ~
       t




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 8 of 25




 ASIA PENNAMO
       1
                                                                                           - 17, 2023
                                                                                  February 1
 IMCDONOt!JGf.t GEORGIA 30253                                                     Re: Alicia Alston
                                                                                  Emory University ,& rHealthcare
                                                                                  Claim:           Contract:
                                                                                  G09979           647272




 Dear Asia-' Pennamort


 We arewriting about a,• claim,,for: ,group llife ,ins1,1rance Ibenefitswith:$tandard Insurance Company. Please
 accept,our sincere ,condolences. Our review of•,this ,claim,is., complete. the ,follcwin~ tbenefits are 1payable:

 Summar:y of 'Benefits
                      ,BENEf;llc.JTY.eE                             AMOUNT eAYABL!E
                      rBasic tbife                                 :$2.~50 -
                       Additional lbife                            '$~~.200
                       Voluntary AD&0                              ·$~3;300

 You will ,receive a Ibenefit ,check under a separate ,cover.


 Note: lihe amount :payable ,represents 5% •of ·the IBasic Life and .7% ,of the Additional Ibfe and Voluntary
 AD&D benefits.

 !l\;ife Services toolkit ·Program
 'V'.ou are ,eligible ,for ,comprehensive suppott-: services ,from the Ikif~ Services f oolkit :Program. this
 includes grief support, ,funeral 1planriing·help and ,financial' counseling ,for the rnext t2 .months. When
 youlre rready, call the 1phone assistance Iline ~t 800,378~5742 ,or visit ,the life ·$ervi~ toolkit website ,at
 www:standard.com/mytoolkit.

 1f amily IBenefits •Package

 lihe group policy may also provide ,a,family benefits 1package ,that1provides ,financial,assistance,to ·a,
 surviving spouse or child', for ,expenses 1ihcurred while receivihg . bereavement counseling, -childcare,
 attendingra higher ,educational institution ,or attending 1professiona11trade cou~es.

 IP1ease -contact us .as soon,, as 1possible if .you or any eligible children wisMo apply ,for •one,or more of ,the
 ,benefits-outlined in .the-:policy 1provisioris ..Be aware ,that- upon ,review,of your claim, certain limitations

 Standardllnsurance Company
 P61eox2aoo,
 Portland,1C>R 97204
            1


 fel ao(>:368;1,135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 9 of 25

ALlCIAALSTON 009979                                  Pagel                                              February 17, 2023


   may apply to the ~mount or duration of the benefit or your eligibility for the •benefit.

   This package of family-oriented benefits includes:

       •     The Higher Education Benefit pays for qu_alifying tuition expenses incurred by an employee's
             eligible children. The benefit pays annuii1lly per child, for a maximum of four t::onsectitive'years
             beginning on the date of the employee's death. The benefit will not exceed $5,000 per year, or
             the cumulative total of.$20,000 or 25% ofthe.employee's AD&D insurance benefit, whichever is
             less.

   COVID-19-Funeral Assistance

   We wou,ld like to inform you t_hat .the-Federal Emergency Management Agency (FEMA) 111,ay provide
   financi _
           al a~sistance•for COVID-19 related funeral expenses incurred ,after January 20, 2020. You may
  ·caiLthe COVID;.19 Funeral Assistance line at 1'-'844,~6333 to initiate en application or obtain
   additional details. You may also visit the .FAQ onlineat FEMA~gov/funeral~assistance/FAQ. The-website
  _contains a~ditior1al information including eligibility ·requirements, submitting _
                                                                                    documentation online,
   methods .of payment and more.

   Any·Questions?

   We.: trustthis claim has been handled to your satisfaction. Please contact us if we can provide.any fu$er
   service.-

   Sincerely,



   Crysti Shi_rl~y
   Senior Life Benefits Analyst
   Life anc:I bisabiiity Services·
   800.628.8600 .ext.
   Fax·   aaa. h~i:0389
  Crysl!,Shirley@stani:tard.com
               Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 10 of 25


.......:iO'I
C0
O'I
t,.l
wI
w
.....
....
~
0
t,.l
wI
w
µ
Ul
~
O'I
'"ti             AALIYAH PENNAMON                                                               February 17, 2023
g:
                 MCDONOUGH GEORGIA 30283                                                        Ra: Alicia Alston
                                                                                                Emory University & Healthcare
                                                                                                Claim:           Contract:
                                                                                                G09~79           647272



                 Dear Aaliyah Pennamon:


                 We are writing about a claim for group life insurance benefits with Standard Insurance Company. Please
                 accept our sincere condolences. Our review of this claim is complete. The following benefits are payable:

                 Summary of Benefits

                                        BENEFIT TYPE                              AMOUNT PAYABLE
                                       'Basic Life                                '$2;nso
                                        Additional Life                           $11,200
                                        Voluntary AD&D                            $·13,300

                 You will receive a benefit check under a separate cover.


                 Note: The amount payable represents 5% of the Basic Life and 7% ,of the Additional Life anij Voluntary
                 AD&D benefits.

                 Life Services toolkit Program
                 You are eligible for comprehensive support services fron"I the Life Services Tc,olkit Program. This
                 includes grief support, funeral 1planning .help and ,financial counseling ,for the next 12 months. When
                                                                    1



                 you~re ready, call the ;phone assistance line at ,800.378.5742 ,or visitthe Life:S~rvices Toolkit website at
                                                           1


                 www:standard~oornlmytooikit.

                 ·Family Benefits .Package
                 The ,group policy may-also provide a family benefits package that provides financial assistance to a
                 surviving spouse or child for expenses incurred while .receiving bereavement ::ounseling, childcare,
                 attending a higher educational institution or attenaing professional trade courEes.

                 Please contact us as soon as possible if you or any eligible children wis!'l to apply for c;,ne .or more of the
                 benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations


                 Standard lnsulllnce Company
                 PO:Box2800
                 Ponland, OR 97204
                 Tel 800.368.1135
             Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 11 of 25


...;i        ALICIA ALSTON.009979                                 Page2                                        F<:bruary 17,,2023
.....
O'l
~        ,
t,.J ,
Cl.)            may apply·to the amount or du_ration of the benefit or your eligibility for the benefit.
    I

.....
Cl.)
.....           This package of family~oriented benefits includes:
~
t,.J
0
t,.J'
                    •   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
Cl.)                    eiigible children, The benefit pays annually per child, for a maximum of four con_
                                                                                                         secutive years
    I
Cl.)                    beginning on the date.of the employee's death. The benefit will notexceed $5,000 per year, or
j..:,i
CJ1                     the•cumulative total of $20,000 or 25% of the employee's AD&D insurance benefit, whichever is
~                       less.
O'l
"ti
g:              COVID-19 Funeral Assistance

                We would like to irifoi'm you that .the Federal Emergency Management Agency (FEMA) may provide
                financial assistance.for COVID-19 related funeral expenses incurred after January 20, 2020~ You may
                call the COViD-19 Funeral Assistance Line-at 1-844-684-6333 to initiate·an application or obtain
                additional details. You may also visit the FAQ online at FEMA.gov/funeral-assistance/FAQ. The website
                contains additional infonnatiori inc:IUding eligibility requirements; submitting documentation online,
                methods,of payment and more.

                Any Questions?
                We,trusHhis,claim has been handled to your satisfaction. Please contact us if we can provide any fur:ther
                service.

                Sincerely;



                Crysti Shirley
                Senior Life Benefits Analyst
                Life -and Disability Services
                800.628:8600 ext.
                Fax 888.414.0389
                Crysti.Shirtey@standard.com
         Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 12 of 25


~
w
0
                                                                                                                         '}
.....
O'I
N
  I


~
.....
.....
N
0
N
wI
.....
0
j..:.,
0
w
w          KEON SMlliH                                                                February 17, 2023
):,,
a::        MCOONOUGt:t GEORGIA 30253-                                                 R,e: Alicia Alston
                                                                                      t:mory University & Healthcare
                                                                                      Claim:            Contract:
                                                                                      G09979            647272




           Dear Kean Smith:


           We are writing about a claim for group life insurance benefits with Standard lnsurance !Company, Please
           accept-our sincere condolences, Our review of this claim is ,complete. The following benefits are ,payable:

           Summary of Benefits

                                 BENEFIT TYPE                            AMOUNT PAYABLE
                                 Basic Life                              $2,150
                                 Additional Life                         $,11,200
                                 Voluntary AO&D                          $13,300

           You will receive a benefit check under a separate cover.



           ,Ncite: The amount,payable represents 5% of the Basic,Life and 7% ,of the .Additional Life and Voluntary
            AD&O 'benefits.

           Life Services Toolkit Program

           You are eligible for comprehensive support services from the Life Services Toolkit Program. ihis
           includes grief support, funeral planning help and financi~:11 counseling for the next 12 months, When
           you're ready, call the phone assistance line at"S00.378:5742 or visitthe LifeSer:vices Toolkit website at
           www.standard'.com/mytoolkit.

           Family Benefits Package

            The group policy may also provide a .family benefits package that provides financial assistance,to a
            surviving spouse or child for expenses incurred' while receiving bereavement counseling, childcare,
           ,attending a higher educational institution or attending ,professional ,trade courses.

           Please contact us.as soon as possible if you or any •eligible children wish to apply for one or more of the

           Standard lnsulll"ICe Company
           POBox2800
           Portland; OR 97204
           Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 13 of 25

ALICIA ALSTON 009979                               Pagel                                             February 17, 2023



   benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
   may apply to the amount or duration of the benefit or your eligibility for the benefit.

   This package of family-oriented benefits includes:

       •   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000 per year, or
           the cumulative total of $20,000 or 25% of the employee's AD&D insurance benefit, whichever is
           less.

   COVID-19 Funeral Assistance
   We would like to inform you that the Federal Emergency Management Agency (FEMA) may provide
   financial assistance for COVID-19 related funeral expenses incurred after January 20, 2020. You may
   call the COVID-19 Funeral Assistance Line at 1-844-684-6333 to initiate an application or obtain
   additional details. You may also visit the FAQ online at FEMA.gov/funeral-assistance/FAQ. The website
   contains additional information including eligibility requirements, submitting documentation online,
   methods of payment and more.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,



   Crysti Shirley
   Senior Life Benefits Analyst
   life and Disability Services
   800.628.8600 exl
   Fax 888.414.0389
   Crysti.Shir1ey@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 14 of 25




  JOESPH SMITH JR                                                            March 20, 2023
  FOR J      S    -A MINOR
                                                                             Re: Alicia Alston
  RIVERDALE GEORGIA 30274
                                                                             Emory University & Healthcare
                                                                             Claim :          Contract:
                                                                             G09979           647272




  Dear Joesph Smith Jr:

  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our
  review of this claim is complete. The following benefits are payable:

  Summary of Benefits

                       BENEFIT TYPE                             AMOUNT PAYABLE
                       Basic Life                               $2,150.00
                       Additional Life                          $11,200.00
                       Voluntary AD&D                           $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.


  Note: The amount payable represents 5% of the Basic Life benefits and 7% of the Additional Life and
  AD&D benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17,
  2023, to March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a
  surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
  attending a higher educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
  may apply to the amount or duration of the benefit or your eligibility for the benefit.

  This package of family-oriented benefits includes:


  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 15 of 25


ALICIA ALSTON G09979                              Page2                                             March 20, 2023



       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000.00 per year,
           or the cumulative total of $20,000.00 or 25% of the employee's AD&D insurance benefit,
           whichever is less.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 16 of 25




  JOESPH SMITH JR                                                            March 20, 2023
  FOR J      S             Ill -A MINOR
                                                                             Re: Alicia Alston
  RIVERDALE GEORGIA 30274
                                                                             Emory University & Healthcare
                                                                             Claim :          Contract:
                                                                             G09979           647272




  Dear Joesph Smith Jr:

  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our
  review of this claim is complete. The following benefits are payable:


  Summary of Benefits

                       BENEFIT TYPE                             AMOUNT PAYABLE
                       Basic Life                               $2,150.00
                       Additional Life                          $11 ,200.00
                       Voluntary AD&D                           $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.



  Note: The amount payable represents 5% of the Basic Life benefits and 7% of the Additional Life and
  AD&D benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17,
  2023, to March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a
  surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
  attending a higher educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
  may apply to the amount or duration of the benefit or your eligibility for the benefit.


  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 17 of 25


ALICIA ALSTON G09979                              Page2                                             March 20, 2023



   This package of family-oriented benefits includes:

       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $ per year, or the
           cumulative total of$ or% of the employee's AD&D insurance benefit, whichever is less.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 18 of 25




  JASMINE BROWN                                                              March 20, 2023
  FOR Z     P                  - A MINOR
                                                                             Re: Alicia Alston
  MCDONOUGH GEORGIA 30253
                                                                             Emory University & Healthcare
                                                                             Claim :          Contract:
                                                                             G09979           647272




  Dear Jasmine Brown :


  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our
  review of this claim is complete. The following benefits are payable:

  Summary of Benefits

                       BENEFIT TYPE                             AMOUNT PAYABLE
                       Basic Life                               $4,300.00
                       Additional Life                          $11 ,200.00
                       Voluntary AD&D                           $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.



  Note: The amount payable represents 10% of the Basic Life benefits and 7% of the Additional Life and
  AD&D benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17,
  2023, to March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a
  surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
  attending a higher educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim , certain limitations


  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 19 of 25


ALICIA ALSTON G09979                                Page2                                           March 20, 2023



   may apply to the amount or duration of the benefit or your eligibility for the benefit.

   This package of family-oriented benefits includes:

       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000.00 per year,
           or the cumulative total of $20,000.00 or 25% of the employee's AD&D insurance benefit,
           whichever is less.

   Any Questions?


   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 20 of 25




  JASMINE BROWN                                                                  March 23, 2023
  FOR K       A                - A MINOR
                                                                                 Re: Alicia Alston
  MCDONOUGH GEORGIA 30253                                                        Emory University & Healthcare
                                                                                 Claim:            Contract:
                                                                                 G09979            647272




  Dear Jasmine Brown:

  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our review
  of this claim is complete. The following benefits are payable:

  Summary of Benefits

                       BENEFIT TYPE                                 AMOUNT PAYABLE
                       Basic Life                                   $4,300.00
                       Additional Life                              $11 ,200.00
                       Voluntary AD&D                               $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.


  Note: The amount payable represents 10% of the Basic Life benefits and 7% of the Additional Life and AD&D
  benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17, 2023, to
  March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a surviving
  spouse or child for expenses incurred while receiving bereavement counseling , childcare, attending a higher
  educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations may
  apply to the amount or duration of the benefit or your eligibility for the benefit.

  This package of family-oriented benefits includes:


  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 21 of 25


ALICIA ALSTON 009979                                Page2                                               March 23, 2023



       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's eligible
           children. The benefit pays annually per child, for a maximum of four consecutive years beginning on
           the date of the employee's death. The benefit will not exceed $5,000.00 per year, or the cumulative
           total of $20,000.00 or 25% of the employee's AD&D insurance benefit, whichever is less.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 22 of 25




  JASMINE BROWN                                                              March 20, 2023
  FOR M A      - A MINOR
                                                                             Re: Alicia Alston
  MCDONOUGH GEORGIA 30253
                                                                             Emory University & Healthcare
                                                                             Claim :          Contract:
                                                                             G09979           647272




  Dear Jasmine Brown :


  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our
  review of this claim is complete. The following benefits are payable:

  Summary of Benefits

                       BENEFIT TYPE                             AMOUNT PAYABLE
                       Basic Life                               $4,300.00
                       Additional Life                          $11,200.00
                       Voluntary AD&D                           $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.


  Note: The amount payable represents 10% of the Basic Life benefits and 7% of the Additional Life and
  AD&D benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17,
  2023, to March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a
  surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
  attending a higher educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
  may apply to the amount or duration of the benefit or your eligibility for the benefit.



  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 23 of 25


ALICIA ALSTON G09979                              Page2                                             March 20, 2023



   This package of family-oriented benefits includes:

       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000.00 per year,
           or the cumulative total of $20,000.00 or 25% of the employee's AD&D insurance benefit,
           whichever is less.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 24 of 25




  JASMINE BROWN                                                              March 20, 2023
  FOR J       A                - A MINOR
                                                                             Re: Alicia Alston
  MCDONOUGH ALABAMA 30253
                                                                             Emory University & Healthcare
                                                                             Claim :          Contract:
                                                                             G09979           647272




  Dear Jasmine Brown :

  We are writing about a claim for group life insurance benefits with Standard Insurance Company. Our
  review of this claim is complete. The following benefits are payable:

  Summary of Benefits

                       BENEFIT TYPE                             AMOUNT PAYABLE
                       Basic Life                               $4,300.00
                       Additional Life                          $11,200.00
                       Voluntary AD&D                           $13,300.00

  These benefits have been transferred into an interest-bearing supplementary contract. Any questions
  regarding this contract can be directed to our Individual Annuities department at 800.247.6888. Individual
  Annuities will contact you regarding this contract.


  Note: The amount payable represents 10% of the Basic Life benefits and 7% of the Additional Life and
  AD&D benefits.

  Interest has been added to the Life amounts above at the rate of 3.62% payable from March 08, 2023, to
  March 22, 2023, and added to the AD&D amount above at the rate of 3.62% payable from March 17,
  2023, to March 22, 2023. Please note that any interest amount paid may be taxable income to the minor.

  Family Benefits Package

  The group policy may also provide a family benefits package that provides financial assistance to a
  surviving spouse or child for expenses incurred while receiving bereavement counseling, childcare,
  attending a higher educational institution or attending professional trade courses.

  Please contact us as soon as possible if you or any eligible children wish to apply for one or more of the
  benefits outlined in the policy provisions. Be aware that upon review of your claim, certain limitations
  may apply to the amount or duration of the benefit or your eligibility for the benefit.

  This package of family-oriented benefits includes:


  Standard Insurance Company
  PO Box2800
  Portland, OR 97204
  Tel 800.368.1135
Case 1:23-mi-99999-UNA Document 2544-6 Filed 08/09/23 Page 25 of 25


ALICIA ALSTON G09979                              Page2                                             March 20, 2023



       □   The Higher Education Benefit pays for qualifying tuition expenses incurred by an employee's
           eligible children. The benefit pays annually per child, for a maximum of four consecutive years
           beginning on the date of the employee's death. The benefit will not exceed $5,000.00 per year,
           or the cumulative total of $20,000.00 or 25% of the employee's AD&D insurance benefit,
           whichever is less.

   Any Questions?

   We trust this claim has been handled to your satisfaction. Please contact us if we can provide any further
   service.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
